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10 Attorneys for Defendant ELIZABETH A. HOLMES

11

12
                                 UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14

15                                     SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD
17                                           )
             Plaintiff,                      )   MOTION TO DISMISS IN PART COUNTS
18                                           )   TWO AND NINE THROUGH ELEVEN OF
        v.
                                             )   SECOND SUPERSEDING INDICTMENT AND
19                                           )   COUNTS TWO AND NINE THROUGH
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                 )   TWELVE OF THIRD SUPERSEDING
                                             )   INDICTMENT AND MOTION TO STRIKE
21           Defendants.                     )
                                             )   Date: October 6, 2020
22                                           )   Time: 10:00 AM
                                             )   CTRM: 4, 5th Floor
23                                           )
24                                           )   Hon. Edward J. Davila
                                             )
25                                           )

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     MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
27 INDICTMENT AND COUNTS TWO AND NINE THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
     AND MOTION TO STRIKE
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              Case 5:18-cr-00258-EJD Document 499 Filed 08/28/20 Page 2 of 7




 1                                          MOTION TO DISMISS

 2          PLEASE TAKE NOTICE that on October 6, 2020, at 10:00 a.m., or on such other date and time

 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does

 5 respectfully move the Court pursuant to Rules 8 and 12 of the Federal Rules of Criminal Procedure to

 6 dismiss Counts Two and Nine through Eleven of the Second Superseding Indictment and Counts Two

 7 and Nine through Twelve of the Third Superseding Indictment insofar as they allege a scheme to

 8 defraud and/or deceive doctors. The Motion is based on the below Memorandum of Points and
 9 Authorities, the record in this case, and any other matters that the Court deems appropriate.

10

11 DATED: August 28, 2020

12

13                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
14                                                       LANCE WADE
                                                         AMY MASON SAHARIA
15                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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     MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
28   INDICTMENT AND COUNTS TWO AND NINE THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
     AND MOTION TO STRIKE
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          In its February 11, 2020 Order, this Court dismissed Counts Two and Nine through Eleven of the

 3 Superseding Indictment insofar as they alleged that Defendants engaged in a scheme to defraud doctors

 4 and non-paying patients. ECF No. 330 at 27–35. The Second Superseding Indictment returned July 14,

 5 2020 and the Third Superseding Indictment returned July 28, 2020 both violate this Court’s Order. They

 6 depict doctors as victims of the alleged scheme to defraud by alleging that Defendants deceived doctors

 7 in order to obtain money from paying patients—thus violating the convergence principle that this Court

 8 discussed at length in its Order. The Court should dismiss Counts Two and Nine through Eleven of the
 9 Second Superseding Indictment and Counts Two and Nine through Twelve of the Third Superseding

10 Indictment insofar as they allege a scheme to deceive doctors and should strike all offending allegations.

11                                                ARGUMENT

12          As this Court recognized in its Order, the specific intent that is required under the wire-fraud

13 statute is the intent “to obtain money or property.” ECF No. 330 at 28 (quoting United States v. Lew,

14 875 F.2d 219, 221 (9th Cir. 1989)). Since that ruling, both the Supreme Court and the Ninth Circuit

15 have reaffirmed that articulation of the required intent. See Kelly v. United States, 140 S. Ct. 1565, 1571

16 (2020) (requiring that the government “show not only that [defendants] engaged in deception, but that an

17 ‘object of their fraud was property’” (brackets omitted) (quoting Cleveland v. United States, 531 U.S.

18 12, 26 (2000))); United States v. Miller, 953 F.3d 1095, 1103 (9th Cir. 2020) (holding that “wire fraud

19 requires the intent to deceive and cheat—in other words, to deprive the victim of money or property by

20 means of deception,” and abrogating the Ninth Circuit’s model jury instruction on wire fraud (emphasis

21 added)).

22          The (First) Superseding Indictment charged Defendants with engaging in a scheme to defraud

23 doctors and patients who did not pay for their blood tests, but it did not allege that Defendants intended

24 to deprive such individuals of any money or property. Ms. Holmes moved to dismiss that indictment on

25 this ground. 1 The Court correctly granted the motion in relevant part and held that the Superseding

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            1
          See ECF No. 206 at 8–9, ECF No. 298 at 3–7. Ms. Holmes expressly reincorporates those
27 arguments here.

28 MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
     INDICTMENT AND COUNTS TWO AND NINE THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
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 1 Indictment failed to allege a scheme to defraud such individuals and dismissed the relevant counts in

 2 part. See ECF No. 330 at 28–35. 2

 3          Like the prior indictment, see ECF No. 330 at 34, the Second and Third Superseding Indictments

 4 contain no allegations suggesting that Defendants intended to deprive doctors of money or property.

 5 Nevertheless, the Second and Third Superseding Indictments repeatedly allege—restating verbatim the

 6 allegations from the prior indictment—that Defendants deceived doctors into referring patients to

 7 Theranos. See, e.g.:

 8          •    Paragraph 14: Defendants “encouraged and induced doctors and patients to use Theranos’s
 9               blood testing laboratory services.”

10          •    Paragraph 15: “Based on these representations, many hundreds of patients paid Theranos, or
11               Walgreens acting on behalf of Theranos, for blood tests and test results, sometimes following

12               referrals from their misled doctors.”

13          •    Paragraph 16: “Despite representing to doctors and patients that Theranos could provide
14               accurate, fast, reliable, and cheap blood tests and test results, HOLMES and BALWANI

15               knew—through, among other ways, their involvement in Theranos’s day-to-day operations

16               and their knowledge of complaints received from doctors and patients—that Theranos’s

17               technology was, in fact, not capable of consistently producing accurate and reliable results.”

18          •    Paragraph 17(A): Defendants “transmitted, caused to be transmitted, or otherwise delivered
19               to doctors and patients, including in the form of marketing materials and advertisements,

20               materially false and misleading information concerning the accuracy and reliability of

21               Theranos’s blood testing services[.]”

22          •    Paragraph 17(B): Defendants “posted on the Theranos website, or otherwise represented to a
23               broad audience including doctors and patients, materially false and misleading information

24               concerning the accuracy and reliability of Theranos’s blood testing services[.]”

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            2
          Of course that ruling also prohibits the government from proceeding to trial on a theory that
27 Defendants engaged in a scheme to defraud nonpaying patients.

28 MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
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 1          •    Paragraph 17(C): Defendants “transmitted, caused to be transmitted, or otherwise delivered
 2               to doctors and patients Theranos blood test results[.]”

 3          •    Paragraph 22: Defendants engaged in a scheme to defraud by “soliciting, encouraging, or
 4               otherwise inducing doctors to refer and patients to pay for and use its laboratory and blood

 5               testing services under the false and fraudulent pretense that Theranos technology produced

 6               reliable and accurate blood test results.”

 7          These allegations violate the convergence principle that governs wire fraud in the Ninth Circuit.

 8 In its prior Order, this Court correctly recognized that, under binding Ninth Circuit case law, the victim
 9 of the deceit and the intended deprivation of money or property must converge—that is, “the indictment

10 must show that the defendant intended to deprive the alleged victim of their money or property.” ECF

11 No. 330 at 29 (citing Lew, 875 F.2d at 221; United States v. Ali, 620 F.3d 1062, 1071 (9th Cir. 2010)).

12 In opposing Ms. Holmes’ prior motion, the government argued that doctors were victims of the alleged

13 scheme to defraud because they were “unwilling participants in the scheme and passed along fraudulent

14 information to their patients in recommending Theranos.” ECF No. 330 at 34. This Court rejected that

15 argument as violating the convergence principle. See id. at 35 (“[H]ere, there is no showing that doctors

16 lost money or property or that Defendants intended for them to lose money or property.”); see also Ms.

17 Holmes’ Reply in Supp. of Mot. to Dismiss Counts Two and Nine Through Eleven, ECF No. 298 at 7.

18          The allegations quoted above violate the convergence principle in at least two ways:

19          First, they improperly depict both doctors and patients as independent victims of the alleged

20 scheme to defraud. Paragraph 15, for example, refers to “misled doctors.” Paragraph 22 (Count Two) is

21 most problematic in this regard: it describes the alleged scheme to defraud as the use of false pretenses

22 to induce doctors to refer and patients to pay, suggesting that both are victims. Under this Court’s prior

23 ruling, however, directing (allegedly) false representations at doctors is simply not wire fraud.

24          Second, even if the Second and Third Superseding Indictments could be read to allege only that

25 patients were victims of the alleged scheme, the convergence principle bars the government from

26 alleging that Defendants deceived one group of individuals (here, doctors) in order to deprive another

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28 MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
     INDICTMENT AND COUNTS TWO AND NINE THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
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 1 group of individuals (here, patients) of money or property. Critically, under Lew, the defendant must

 2 intend “to obtain money or property from the one who is deceived.” 875 F.2d at 221 (emphasis added).

 3 The Third Superseding Indictment does not allege that patients were “deceived” by alleged

 4 misrepresentations to doctors. For example, it does not allege that doctors repeated allegedly false

 5 statements to their patients and thus unwittingly deceived patients; to the contrary, it alleges only that

 6 deceived doctors referred patients to Theranos. Under Lew and its progeny, that is not wire fraud

 7 because it does not involve deception of the person from whom money or property is obtained. As a

 8 result, this theory of liability flouts the convergence principle.
 9          The Court should (again) dismiss Counts Two and Nine Through Eleven of the Second

10 Superseding Indictment and Counts Two and Nine Through Twelve of the Third Superseding

11 Indictment “to the extent they depend on doctor-victims.” ECF No. 330 at 35. And because the Second

12 and Third Superseding Indictments’ allegations about deceiving doctors violate the convergence

13 principle and/or will confuse and mislead the jury into believing that doctors are victims of the alleged

14 scheme, the Court should strike all offending language from the Indictments.

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16 DATED: August 28, 2020                                  Respectfully submitted,

17

18                                                         /s/ Amy Mason Saharia
                                                           KEVIN DOWNEY
19                                                         LANCE WADE
                                                           AMY MASON SAHARIA
20                                                         KATHERINE TREFZ
                                                           Attorneys for Elizabeth Holmes
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28 MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
     INDICTMENT AND COUNTS TWO AND NINE THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on August 28, 2020 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5
                                                        /s/ Amy Mason Saharia
 6                                                      AMY MASON SAHARIA
                                                        Attorney for Elizabeth Holmes
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28 MOTION TO DISMISS IN PART COUNTS TWO AND NINE THROUGH ELEVEN OF SECOND SUPERSEDING
     INDICTMENT AND COUNTS TWO AND NINE THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
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 9 Attorneys for Defendant ELIZABETH A. HOLMES
10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   [PROPOSED] ORDER GRANTING MOTION
16                                             )   TO DISMISS IN PART COUNTS TWO AND
       v.                                      )   NINE THROUGH ELEVEN OF SECOND
17                                             )   SUPERSEDING INDICTMENT AND COUNTS
     ELIZABETH HOLMES and                      )   TWO AND NINE THROUGH TWELVE OF
18   RAMESH “SUNNY” BALWANI,                   )   THIRD SUPERSEDING INDICTMENT
                                               )
19          Defendants.                        )   Hon. Edward J. Davila
                                               )
20                                             )
                                               )
21                                             )

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28 [PROPOSED] ORDER GRANTING MOTION TO DISMISS IN PART COUNTS TWO AND NINE
     THROUGH ELEVEN OF SECOND SUPERSEDING INDICTMENT AND COUNTS TWO AND NINE
     THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
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            Case 5:18-cr-00258-EJD Document 499-1 Filed 08/28/20 Page 2 of 2




 1          This CAUSE having come before the Court upon Defendant Elizabeth A. Holmes’ Motion to

 2 Dismiss In Part Counts Two and Nine through Eleven of the Second Superseding Indictment and Counts

 3 Two and Nine through Twelve of the Third Superseding Indictment. After due consideration of the

 4 filings, the governing law, and the argument of the parties:

 5          IT IS HEREBY ORDERED that Ms. Holmes’ motion is GRANTED, and that Counts Two

 6 and Nine through Eleven of the Second Superseding Indictment and Counts Two and Nine through

 7 Twelve of the Third Superseding Indictment are DISMISSED insofar as they allege a scheme to

 8 defraud and/or deceive doctors.

 9
10          IT IS SO ORDERED.

11

12 Dated: _____________

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14                                                                 Hon. Edward J. Davila
                                                                   United States District Judge
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27 [PROPOSED] ORDER GRANTING MOTION TO DISMISS IN PART COUNTS TWO AND NINE
     THROUGH ELEVEN OF SECOND SUPERSEDING INDICTMENT AND COUNTS TWO AND NINE
28 THROUGH TWELVE OF THIRD SUPERSEDING INDICTMENT
     CR-18-00258 EJD
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